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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

DANNY SCHOONOVER,

               Plaintiff,

       v.                                             CASE NO.: 8:11-cv-00147-JDW-TBM

COMMONWEALTH FINANCIAL
SYSTEMS, INC.,

            Defendant.
____________________________________/

                     STIPULATION TO DISMISS CASE WITH PREJUDICE

        Plaintiff,    DANNY      SCHOONOVER,          and   Defendant,   COMMONWEALTH

FINANCIAL SYSTEMS, INC., through their respective counsel, stipulate to dismiss the above-

captioned action pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), with prejudice,

each side to bear their own fees and costs.

DATED: February 29, 2012                      RESPECTFULLY SUBMITTED,

                                              KROHN & MOSS, LTD.


                                      By: /s/ Shireen Hormozdi           .

                                              Shireen Hormozdi
                                              Krohn & Moss, Ltd
                                              10474 Santa Monica Blvd. Suite 401
                                              Los Angeles, CA 90025
                                              Tel: (323) 988-2400 x 267
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                                              Attorney for Plaintiff

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DATED: February 29, 2012         RESPECTFULLY SUBMITTED,

                                 GOLDEN & SCAZ, PLLC


                            By: /s/ Dale T. Golden       .

                                 Dale T. Golden, Esquire
                                 GOLDEN & SCAZ, PLLC
                                 FBN: 0094080
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                                 Attorney for Defendant




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                                      PROOF OF SERVICE

       I am employed in the County of Los Angeles, State of California. I am over the age of
18 and not a party in this action. My business Address is 10474 Santa Monica Boulevard, Suite
401, Los Angeles, California 90025.

     On February 29, 2012, I served the following documents:             STIPULATION TO
DISMISS CASE WITH PREJUDICE

       On the parties listed below:

      Dale T. Golden, Esquire                  Attorneys for Defendant,
      GOLDEN & SCAZ, PLLC                      COMMONWEALTH FINANCIAL
      201 North Armenia Avenue                 SYSTEMS, INC.
      Tampa, FL 33609

       By the following means of service:

[ ]    BY ELECTRONIC SERVICE: the documents above were delivered electronically
       through the Court’s ECF/PACER electronic filing system, as stipulated by all parties to
       constitute personal service.

[ ]    BY ELECTRONIC MAIL: I transmitted the document(s) listed above electronically to
       the e-mail addresses listed above. I am readily familiar with the firm’s Microsoft
       Outlook e-mail system, and the transmission was reported as complete, without error.

[X]    BY MAIL: I deposited such envelope in the mail at Los Angeles, California. The
       envelope was mailed with postage thereon fully prepaid. I am readily familiar with the
       firm’s practice for collection and processing correspondence for mailing. Under that
       practice, this document will be deposited with the U.S. Postal Service on this date with
       postage thereon fully prepaid at Los Angeles, California in the ordinary course of
       business. I am aware that on motion of the party served, service is presumed invalid if
       postal cancellation date or postage meter date is more than one day after date of deposit
       for mailing in affidavit.

[X]    FEDERAL: I declare under penalty of perjury under the laws of California that the
       above is true and correct.

       Executed on February 29, 2012, at Los Angeles, California.


                                                   By: /s/ Shireen Hormozdi        .

                                                           Shireen Hormozdi




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